Oo oe NN DB A FBP WY PN ee

DO PO KN KN HO KN NO NO RO mm ey ee eee
ao ND UN FP Ye NH FP DO ODO ON DO HTH FF WY PO KF CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 1 of 42

Oo OC YN DB NH BP W PO Y/Y

NO NY NY NY NY NY NY NY ND Re Re Ree

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 2 of 42

oO CO NT DN WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 3 of 42

Thomson SA participated in the conspiracy it its own right and through its wholly owned subsidiary,
Thomson Consumer, through at least 2005, and participated thereafter through Videocon, in which it
retained a 13.1% ownership stake after selling its CRT business to Videocon in 2005. Thomson SA
maintained at least a 10% ownership interest in Videocon throughout the conspiracy period. Thomson
SA never effectively withdrew from this conspiracy.

145. Thomson Consumer directly participated in the conspiracy in the United States, which
was Thomson’s largest market for CRTs. Between at least 1995 and 2005, Thomson Consumer
knowingly participated in and/or was a party to bilateral and group meetings, including “green
meetings” in the United States, in which unlawful agreements as to, inter alia, price, output restrictions,
and/or customer and market allocation of U.S.-market CRTs occurred. As examples of Thomson
Consumer’s active participation in a conspiracy to fix CRT prices during the Relevant Period:

oO OC NN DBD AN BR W NO Be

No No bo bo bho NO ho NO No Re me me — em — me — me —
oo “I an Nn - wo NO mo Oo oO oO ~“ ON Nn & Go N = oO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 4 of 42

146.

147. Thomson Consumer knowingly participated in the conspiracy both in its own right and
through its parent company Thomson SA, through at least 2005, and participated thereafter through
Videocon, in which Thomson SA maintained at least a 10% ownership interest throughout the

conspiracy period. Thomson Consumer never effectively withdrew from this conspiracy.

o CO NN WN OH BP WD HO He

NO NO DN DY DN NYO RO RD RO a eae a eg
ao AN Dn HN FF WD NY KY DCD ODO FB NIN DB A BP W NYO KF CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 5 of 42

(b) Videocon’s Participation in the CRT Conspiracy

148, Upon information and belief, between 2005 and 2007, Videocon participated in several
glass meetings and multiple bilateral meetings with its competitors, continuing the practice established
by Thomson. These meetings were attended by high level sales and marketing managers and executives
from Videocon, including one Thomson employee who sat on Videocon’s Board of Directors, and
employees who had previously attended meetings on behalf of Thomson. At these meetings, Videocon
discussed such things as CRT prices, production, revenues, volumes, demand, inventories, estimated
sales, plant shutdowns, customer allocation, and new product development, and agreed on prices and
supply levels for CRT Products. These meetings included discussions in which Videocon shared

information with competitors regarding the U.S. market for CRTs. Documents reflect that these

meetings among competitors did not occur in the context of a customer-supplier relationship.

(c) TDA’s Participation in the CRT Conspiracy
149. TDA was responsible for the sales and marketing of CRT Products in North America on
behalf of its parent company, Videocon. Upon information and belief, Videocon dominated and/or
controlled the finances, policies and/or affairs of TDA and directed its pricing of CRT Products sold to

the North America market.

Upon information and belief, between 2005 and 2007, TDA (originally
known as Thomson Displays Americas), and its wholly owned Mexican subsidiary and co-conspirator
Technologies Displays Mexicana, knowingly participated in conspiracy meetings and/or were parties to

the agreements entered at them, individually and through their parent company Videocon. The prices

Oo Se NY HD WH BP W NNO =e

DO NH NO NYO KR RO NR NR RO eae ea ea ee
ao SN Dn HW FF Ww NHN F& DD Oo Oo NS DR HW BR WD PO KF OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 6 of 42

established by TDA were, thus, the product of conspiratorial communications between Videocon and
TDA and their co-conspirators.

150. To the extent Thomson Consumer, TDA, and its Mexican subsidiary and co-conspirator
Technologies Displays Mexicana, distributed CRTs to direct purchasers, they played a significant role in
the conspiracy because Defendants wished to ensure that the prices for such products paid by direct
purchasers would not undercut the pricing agreements reached at these various meetings. Thus,
Thomson Consumer, TDA, and Technologies Displays Mexicana were at those meetings and/or were
parties to the agreements and were active, knowing participants in this conspiracy.

(d) Mitsubishi’s Participation in the CRT Conspiracy

151. Between at least 1995 and 2005, Defendant Mitsubishi participated in multiple bilateral
and group meetings with its competitors, including but not limited to, co-conspirators Samsung SDI,
Toshiba, Chunghwa, and Hitachi. These meetings were attended by high level sales managers and
other senior executives from Mitsubishi. At these meetings, Mitsubishi discussed such things as CRT
prices, production, future production, revenues, volumes, demand, inventories, estimated sales, plant
shutdowns, customer allocation, and new product development, and agreed on prices, customer
allocations, and supply levels for CRTs. In addition to in-person meetings, Mitsubishi also
communicated with its competitors by telephone and email. Examples of Mitsubishi’s active
participation in the conspiracy to fix CRT prices during the Relevant Period include, but are not limited

to:

Oo © NN WD A BP W PO we

NO NY NY BD NY DD RN RR Oe eae a a ea
aH ry Dn HA FP YW ND YF§ DO Ww NI DB HW BR W PH FH C|CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 7 of 42

° August 29, 2000: Mitsubishi met with Samsung SDI in Japan and discussed the

capacity, including future potential, of Mitsubishi’s factory in Mexico.

Oo Fe NN DBD Wn BP WY PO

Oo NO NO LN RY DY NR NR Re ae a ea ee i
oO ND HW FEF WY NY F&F DGD ODO fF HIT DR HW BR WD NP HFS CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 8 of 42

All of the above acts, as well as others, were in furtherance of the conspiracy.

Oo DB YN DB WW BB WO PO Y/Y

DB NH NY NYO KN DO DY RD Rw ee eee a ee ea
ao NY HD HD FPF YW NHN KF& DBD ODO BSB NI DB A BP W NY HY COC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 9 of 42

(e) Co-conspirators’ Participation in the CRT Conspiracy

152. Between at least 1996 and 2001, co-conspirator Hitachi, through Hitachi, Ltd., Hitachi
Displays, Hitachi Shenzhen and Hitachi Asia, participated in several glass meetings. These meetings
were attended by high level sales managers from Hitachi. Hitachi also engaged in multiple bilateral
discussions with other participants, particularly with Samsung. Through these discussions, Hitachi
agreed on prices and supply levels for CRTs. Hitachi never effectively withdrew from this conspiracy.

153. Co-conspirators Hitachi America and HEDUS were represented at those meetings and
were a party to the agreements entered at them. To the extent Hitachi America and HEDUS sold and/or
distributed CRT Products to direct purchasers, they played a significant role in the conspiracy because
Defendants and their co-conspirators wished to ensure that the prices for CRT Products paid by direct
purchasers would not undercut the CRT pricing agreements reached at the glass meetings. Thus, Hitachi
America and HEDUS were active, knowing participants in the alleged conspiracy.

154, Between at least 1998 and 2007, co-conspirator IRICO, through IGC, IGE and IDDC,
participated in multiple glass meetings. These meetings were attended by the highest ranking executives
from IRICO. IRICO also engaged in multiple bilateral discussions with other participants, particularly
with other Chinese manufacturers. Through these discussions, IRICO agreed on prices and supply
levels for CRTs. None of IRICO’s conspiratorial conduct in connection with CRTs was mandated by
the Chinese government. IRICO was acting to further its own independent private interests in
participating in the alleged conspiracy.

155. Between at least 1995 and 2001, co-conspirator LG Electronics, through LGEIJ and
LGETT, participated in at least 100 glass meetings at all levels. After 2001, LG Electronics participated
in the CRT conspiracy through its joint venture with Philips, LGPD (n/k/a LP Displays). A substantial
number of these meetings were attended by the highest ranking executives from LG Electronics. LG
Electronics also engaged in bilateral discussions with other participants on a regular basis. Through
these discussions, LG agreed on prices and supply levels for CRTs. LG Electronics never effectively

withdrew from this conspiracy.

—

DO NO NY LY RY NYO NO RO Re a ei ea ea ee
oO NN DN MW FP Ww NY YF DOD ODO HB NI DBD HW BP WD PPO KF OC

© OO NY WA WNW AR wD bw

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 10 of 42

156. Co-conspirator LGEUSA was represented at those meetings and was a party to the
agreements entered at them. To the extent LGEUSA sold and/or distributed CRT Products, it played a
significant role in the conspiracy because Defendants and their co-conspirators wished to ensure that the
prices for CRT Products paid by direct purchasers would not undercut the CRT pricing agreements
reached at the glass meetings. Thus, LGEUSA was an active, knowing participant in the alleged
conspiracy.

157. Between at least 2001 and 2006, co-conspirator LP Displays (f/k/a LGPD) participated in
at least 100 glass meetings at all levels. A substantial number of these meetings were attended by the
highest ranking executives from LP Displays. Certain of these high level executives from LP Displays
had previously attended meetings on behalf of LG Electronics and Philips. LP Displays also engaged in
bilateral discussions with other participants. Through these discussions, LP Displays agreed on prices
and supply levels for CRTs.

158. Between at least 1996 and 2003, co-conspirator Panasonic, through Panasonic
Corporation and Matsushita Malaysia, participated in several glass meetings. After 2003, Panasonic
participated in the CRT conspiracy through MTPD, its joint venture with Toshiba. These meetings were
attended by high level sales managers from Panasonic and MTPD. Panasonic also engaged in multiple
bilateral discussions with other participants. Through these discussions, Panasonic agreed on prices and
supply levels for CRTs. Panasonic never effectively withdrew from this conspiracy.

159. PCNA was represented at those meetings and was a party to the agreements entered at
them. To the extent PCNA sold and/or distributed CRT Products to direct purchasers, it played a
significant role in the conspiracy because Defendants and their co-conspirators wished to ensure that the
prices for CRT Products paid by direct purchasers would not undercut the CRT pricing agreements
reached at the glass meetings. Thus, PCNA was an active, knowing participant in the alleged
conspiracy.

160. Between at least 2003 and 2006, co-conspirator MTPD participated in multiple glass
meetings and in fact led many of these meetings during the latter years of the conspiracy. These

meetings were attended by high level sales managers from MTPD. MTPD also engaged in bilateral

Oo FF ND HW BP WY PO Ye

NO pO NHN NO KN DR DN DN RD ee ee eee
ao IN HD A Fe WD NY F|§ OF DO BD DQ DB WNT BP WHO NPN KY OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 11 of 42

discussions with other participants. Through these discussions, MTPD agreed on prices and supply
levels for CRTs.

161. Between at least 1998 and 2007, co-conspirator BMCC participated in multiple glass
meetings. These meetings were attended by high level sales managers from BMCC. BMCC also
engaged in multiple bilateral discussions with other participants, particularly the other Chinese CRT
manufacturers. Through these discussions, BMCC agreed on prices and supply levels for CRTs. None
of BMCC’s conspiratorial conduct in connection with CRTs was mandated by the Chinese government.
BMCC was acting to further its own independent private interests in participating in the alleged
conspiracy.

162. Between at least 1996 and 2001, co-conspirator Philips, through Royal Philips and
Philips Taiwan, participated in at least 100 glass meetings at all levels. After 2001, Philips participated
in the CRT conspiracy through its joint venture with LG Electronics, LGPD (n/k/a LP Displays). A
substantial number of these meetings were attended by high level executives from Philips. Philips also
engaged in numerous bilateral discussions with other participants. Through these discussions, Philips
agreed on prices and supply levels for CRTs. Philips never effectively withdrew from this conspiracy.

163. Co-conspirators Philips America and Philips Brazil were represented at those meetings
and were a party to the agreements entered at them. To the extent Philips America and Philips Brazil
sold and/or distributed CRT Products to direct purchasers, they played a significant role in the
conspiracy because Defendants and their co-conspirators wished to ensure that the prices for CRT
Products paid by direct purchasers would not undercut the CRT pricing agreements reached at the glass
meetings. Thus, Philips America and Philips Brazil were active, knowing participants in the alleged
conspiracy.

164. Between at least 1995 and 2007, co-conspirator Samsung SDI, through Samsung SDI,
Samsung SDI Malaysia, Samsung SDI Shenzhen and Samsung SDI Tianjin, participated in at least 200
glass meetings at all levels. A substantial number of these meetings were attended by the highest

ranking executives from Samsung SDI. Samsung SDI also engaged in bilateral discussions with each of

Oo A YN DB AW BP W PO

NB BDO NO NO NO KN RRO RD ea ea ea ea ea
Ho ANA HD UV FP WD NHN FY DBD ODO OD NI DB nH BP WW PO KF COC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 12 of 42

the other participants on a regular basis. Through these discussions, Samsung SDI agreed on prices and
supply levels for CRTs.

165. Co-conspirators Samsung SDI America, Samsung SDI Brazil and Samsung SDI Mexico
were represented at those meetings and were a party to the agreements entered at them. To the extent
these companies sold and/or distributed CRT Products, they played a significant role in the conspiracy
because Defendants and their co-conspirators wished to ensure that the prices for CRT Products paid by
direct purchasers would not undercut the CRT pricing agreements reached at the glass meetings. Thus,
Samsung SDI America, Samsung SDI Brazil and Samsung SDI Mexico were active, knowing
participants in the alleged conspiracy.

166. Between at least 1998 and 2006, co-conspirator Samtel participated in multiple bilateral
discussions with other participants. These meetings were attended by high level executives from
Samtel. Through these discussions, Samtel agreed on prices and supply levels for CRTs. Samtel never
effectively withdrew from this conspiracy.

167. Between at least 1997 and 2006, co-conspirator Thai CRT participated in multiple glass
meetings. These meetings were attended by the highest ranking executives from Thai CRT. Thai CRT
also engaged in multiple bilateral discussions with other participants. Through these discussions, Thai
CRT agreed on prices and supply levels for CRTs. Thai CRT never effectively withdrew from this
conspiracy.

168. Between at least 1995 and 2003, co-conspirator Toshiba, through TC, TDDT and TEDI,
participated in several glass meetings. After 2003, Toshiba participated in the CRT conspiracy through
MTPD, its joint venture with Panasonic. These meetings were attended by high level sales managers
from Toshiba and MTPD. Toshiba also engaged in multiple bilateral discussions with other participants.
Through these discussions, Toshiba agreed on prices and supply levels for CRTs. Toshiba never
effectively withdrew from this conspiracy.

169. Co-conspirators Toshiba America, TACP, TAEC and TAIS were represented at those
meetings and were a party to the agreements entered at them. To the extent Toshiba America, TACP,

TAEC and TAIS sold and/or distributed CRT Products to direct purchasers, they played a significant

oO ON DAW BR WY PN ke

BO DN NO KN RO DR RD RD RD ee ia ea ea ea ee
ao NN DN ON FP WY NF DOD ODO OBO HI DRO AH BR WD PB KF OO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 13 of 42

role in the conspiracy because Defendants and their co-conspirators wished to ensure that the prices for
CRT Products paid by direct purchasers would not undercut the CRT pricing agreements reached at the
glass meetings. Thus, Toshiba America, TACP, TAEC and TAIS were active, knowing participants in
the alleged conspiracy.

170. Between at least 1995 and 2006, co-conspirator Chunghwa, through Chunghwa PT,
Chunghwa Malaysia, and representatives from their factories in Fuzhuo (China) and Scotland,
participated in at least 100 glass meetings at all levels. A substantial number of these meetings were
attended by the highest ranking executives from Chunghwa, including the former Chairman and CEO of
Chunghwa PT, C.Y. Lin. Chunghwa also engaged in bilateral discussions with other participants on a
regular basis. Through these discussions, Chunghwa agreed on prices and supply levels for CRTs.

171. Between at least 1995 and 2004, co-conspirator Daewoo, through Daewoo Electronics,
Orion and DOSA, participated in at least 100 glass meetings at all levels. A substantial number of these
meetings were attended by the highest ranking executives from Daewoo. Daewoo also engaged in
bilateral discussions with other participants. Through these discussions, Daewoo agreed on prices and
supply levels for CRTs. Bilateral discussions involving Daewoo continued until Orion, its wholly-
owned CRT subsidiary, filed for bankruptcy in 2004. Daewoo never effectively withdrew from this
conspiracy.

KE. The CRT Market During the Conspiracy

172. Until the last.few years of the CRT conspiracy, CRTs were the dominant technology used
in displays, including televisions and computer monitors. During the Relevant Period, this translated
into the sale of millions of CRT Products, generating billions of dollars in annual profits.

173. The following data was reported by Stanford Resources, Inc., a market research firm

focused on the global electronic display industry:

1998 90.5 $18.9 $208
1999 106.3 $19.2 $181

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 14 of 42

2000 119.0 $28.0! $235

174. During the Relevant Period, North America was the largest market for CRT TVs and
computer monitors. According to a report published by Fuji Chimera Research, the 1995 worldwide
market for CRT monitors was 57.8 million units, 28 million of which (48.5 percent) were consumed in
North America. By 2002, North America still consumed around 35 percent of the world’s CRT monitor
supply.

175. Defendants’ and co-conspirators’ collusion is evidenced by unusual price movements in
the CRT Product market during the Relevant Period. In the 1990s, industry analysts repeatedly
predicted declines in consumer prices for CRT Products that did not fully materialize. For example, in
1992, an analyst for Market Intelligent Research Corporation predicted that “[e]conomies of scale, in
conjunction with technological improvements and advances in manufacturing techniques, will produce a
drop in the price of the average electronic display to about $50 in 1997.” Information Display 9/92 p.19.
Despite such predictions, and the existence of economic conditions warranting a drop in prices, CRT
Product prices nonetheless remained stable.

176. In 1996, another industry source noted that “the price of the 14" tube is at a sustainable
USD50 and has been for some years... .”

177. In early 1999, despite declining production costs and the rapid entry of flat panel display
products, the price of large sized color CRTs actually rose. The price increase was allegedly based on
increasing global demand. In fact, this price increase was a result of the collusive conduct as herein
alleged.

178. After experiencing oversupply of 17" CRTs in the second half of 1999, the average
selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech Weekly quoted an
industry analyst as saying that this price increase was “unlike most other PC-related products.”

179. A BNET Business Network news article from August 1998 reported that “key

components (cathode ray tubes) in computer monitors have risen in price. ‘Although several

| Estimated market value of CRT units sold.

o Oo NN DBD A FR WY NPN He

NO NO NO NO BD PO RO RO DO Om ee ea ea
ao ANA NH OH Ff WO NY | DBD OO OB NI DB A BP W PO KF OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 15 of 42

manufacturers raised their CRT prices in the beginning of August, additional CRT price increases are
expected for the beginning of October .... While computer monitor price increases may be a necessary
course of action, we [CyberVision, a computer monitor manufacturer] do not foresee a drop in demand
if we have to raise our prices relative to CRT price increases.’”

180. A 2004 article from Techtree.com reports that various computer monitor manufacturers,
including LG Electronics, Philips and Samsung, were raising the price of their monitors in response to
increases in CRT prices caused by an alleged shortage of glass shells used to manufacture the tubes.
Philips is quoted as saying that, “It is expected that by the end of September this year [2004] there will
be [a] 20% hike in the price of our CRT monitors.”

181. Defendants and co-conspirators also conspired to limit production of CRTs by shutting
down production lines for days at a time, and closing or consolidating their manufacturing facilities.

182. For example, CRT factory utilization percentage fell from 90% in the third quarter of
2000 to 62% in the first quarter of 2001. This is the most dramatic example of a drop in factory
utilization. There were sudden drops throughout the Relevant Period but to a lesser degree. Plaintiffs
are informed and believes that these sudden, coordinated drops in factory utilization by Defendants and
co-conspirators were the result of agreements to decrease output in order to stabilize the prices of CRTs.

183. During the latter part of the Relevant Period, while demand in the United States for CRT
Products declined, the conspiracy was effective in moderating the normal downward pressures on prices
for CRT Products caused by the entry and popularity of the new generation LCD panels and plasma
display products. As Finsen Yu, President of Skyworth Macao Commercial Offshore Co., Ltd., a
television maker, was quoted in January of 2007: “[t]he CRT technology is very mature; prices and
technology have become stable.”

184. During the Relevant Period, there were not only periods of unnatural and sustained price
stability, but there were also increases in prices of CRTs and CRT Products. These price increases were
despite the declining demand due to the approaching obsolescence of CRT Products caused by the

emergence of a new, potentially superior and clearly more popular, substitutable technology.

Oo OO CO NI DR WD HR WD HBO we

NY NM NY NY N NY NN DN KN BH em ee ee a ead
CoN DN UN BR YW NY F&F GC Oo we NY DA A BRB WwW PP Be

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 16 of 42

185. These price increases and price stability in the market for CRT Products during the
Relevant Period are inconsistent with a competitive market for a product facing rapidly decreasing
demand caused by a new, substitutable technology.

F. International Government Antitrust Investigations of the CRT Conspiracy

186. Defendants’ and co-conspirators’ conspiracy to fix, raise, maintain and stabilize the
prices of, and restrict output for, CRTs sold in the United States during the Relevant Period, has been
and the subject of a multinational investigation commenced by the Antitrust Division of the United
States DOJ.

187. Separately, the European Commission and Japan and South Korea’s Fair Trade
Commissions also opened investigations into illegal price-fixing of CRTs that were being sold in Europe
and Asia.

188. Inits 2008 Annual Report, co-conspirator Toshiba reports that “[t]he Group is also being
investigated by the [European] Commission and/or the U.S. Department of Justice for potential
violations of competition laws with respect to semiconductors, LCD products, cathode ray tubes (CRT)

and heavy electrical equipment.”
189. On May 6, 2008, the Hungarian Competition Authority (“HCA”) announced its own

investigation into the CRT cartel. The HCA described the cartel as follows:

The Hungarian Competition Authority (Gazdasagi Versenyhivatal —- GVH)
initiated a competition supervision proceeding against the following undertakings:
Samsung SDI Co., Ltd., Samsung SDI Germany GmbH, Samsung SDI
Magyarorsz4g Zrt., Thomson TDP sp. Z.o0.0., LG Philips Displays Czech
Republic s.r.o.., LP Displays, Chunghwa Pictures Tubes (UK) Ltd, Chunghwa
Pictures Tubes Ltd, Daewoo Orion S.A., Daewoo Electronics Global HQ,
Daewoo Electronics European HQ, MT Picture Display Germany GmbH,
Matsushita Global HQ, Matsushita European HQ.

Based on the data available the undertakings mentioned above concerted their
practice regarding the manufacturing and distribution of cathode-ray tubes
(including coloured pictures tubes and coloured screen tubes) on the European
market between 1995 and 2007. The anti-competitive behaviour may have
concerned the exchange of sensitive market information (about prices, volumes
sold, demand and the extent to which capacities were exploited), price-fixing, the
allocation of market shares, consumers and volumes to be sold, the limitation of
output and coordination concerning the production. The undertakings evolved a
structural system and functional mechanism of cooperation.

CoC OD FN DWN NW BR WD HO He

DO NB BO NO KN KRONOR NO wm ea ea ae
oO NN UN FF WY NY YF& DOD Oo BH ID DO NH BR WO PO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 17 of 42

According to the available evidences it is presumable that the coordination of
European and Asian undertakings regarding to the European market also included
Hungary from 1995 to 2007. The coordination concerning the Hungarian market
allegedly formed part of the European coordination. Samsung SDI Magyarorszag.
was called into the proceeding since it manufactured and sold cathode-ray tubes in
Hungary in the examined period, and it allegedly participated in the coordination
between its parent companies.

190. On February 10, 2009, the DOJ issued a press release announcing that a federal grand
jury in San Francisco had that same day returned a two-count indictment against the former Chairman
and Chief Executive Officer of Chunghwa, Cheng Yuan Lin a/k/a C.Y. Lin, for his participation in
global conspiracies to fix the prices of two types of CRTs used in computer monitors and televisions.
The press release notes that “[t]his is the first charge as a result of the Antitrust Division’s ongoing
investigation into the cathode ray tubes industry.” The press release further notes that Lin had
previously been indicted for his participation in a conspiracy to fix the prices of TFT-LCDs. Mr. Lin’s
indictment states that the combination and conspiracy to fix the prices of CRTs was carried out, in part,
in California.

191. On August 19, 2009, the DOJ issued a press release announcing that a federal grand jury
in San Francisco had the previous night returned a one-count indictment against Wu Jen Cheng a/k/a
Tony Cheng for his participation in a global conspiracy to fix the prices of CDTs, the type of CRT used
in computer monitors. Tony Cheng formerly was an assistant Vice-President of Sales and Marketing at
Chunghwa. The press release notes that Cheng previously had been indicted for his participation in a
conspiracy to fix the prices of TFT-LCDs. Mr. Cheng’s indictment states that the combination and
conspiracy to fix the prices of CRTs was carried out, in part, in California.

192. On March 30, 2010, the DOJ issued a press release announcing that a federal grand jury
in San Francisco had that same day returned a one-count indictment against Chung Cheng Yeh a/k/a
Alex Yeh for his participation in a global conspiracy to fix the prices of CDTs, the type of CRT used in
computer monitors. The press release identifies Yeh as a “former director of sales” at “a large-Taiwan
based color display tube (CDT) manufacturer.” The indictment states that the combination and

conspiracy to fix the prices of CRTs was carried out, in part, in California.

Oo Co ND HW BP WY PO

NO NO NO NYO KN DD BR RO RO ae eee a ea ee ee
ao NN DBD UN FP YW NY FF DOD ODO BH HDI DBD A BP WW HO KF C|]

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 18 of 42

193. On November 9, 2010, the DOJ issued a press release announcing that a federal grand
jury in San Francisco had that same day returned a one-count indictment against Seung-Kyu Lee a/k/a.
Simon Lee, Yeong-Ug Yang a/k/a Albert Yang, and Jae-Sik Kim a/k/a J.S. Kim for their participation in
a global conspiracy to fix the prices of CDTs, the type of CRT used in computer monitors. The press
release identifies Lee, Yang, and Kim as “former executives from two color display tube (CDT)
manufacturing companies.” The indictment states that the combination and conspiracy to fix the prices
of CRTs was carried out, in part, in California.

194. On March 18, 2011, the DOJ issued a press release announcing that it had reached an
agreement with co-conspirator Samsung SDI in which it would plead guilty and pay a $32 million fine
for its role in a conspiracy to fix prices of CDTs.

195. Samsung SDI admitted that from at least as early as January 1997 until at least as late as
March 2006, it participated in a conspiracy among major CDT producers to fix prices, reduce output,
and allocate market shares of CDTs sold in the United States and elsewhere. Samsung SDI admitted
that in furtherance of the conspiracy it, through its officers and employees, engaged in discussions and
attended meetings with representatives of other major CDT producers. During these discussions and
meetings, agreements were reached to fix prices, reduce output, and allocate market shares of CDTs to
be sold in the United States and elsewhere. Samsung SDI further admitted that acts in furtherance of the
conspiracy were carried in California. .

196. The plea agreement of Samsung SDI requires that it cooperate with the DOJ’s ongoing
investigation of federal antitrust and related criminal laws involving the manufacture or sale of CDTs
and CPTs,

197. As described above, in December 2012 the European Commission announced that it
fined seven companies for participating in cartels to fix the prices of CRTs lasting almost ten years:
Thomson, Samsung SDI, Philips, LG Electronics, Toshiba, Panasonic, and MTPD. The EC concluded
that “the cartelists carried out the most harmful anti-competitive practices including price fixing, market
sharing, customer allocation, capacity and output coordination and exchanges of commercial sensitive

information.”

Oo A NI HD A FR WY NNO eB

NO bo HN HO KN KN PO DN NO Re ey ee eee ea ae
oO nN ND UH FP WD NY KF DTD OD A NN WDB vA BP W PO KF OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 19 of 42

G. Effects of the CRT Conspiracy

(1) Examples of Reductions in Manufacturing Capacity

198. During the Relevant Period, the conspirators conspired to limit production of CRTs by
shutting down production lines for days at a time and closing or consolidating manufacturing facilities.

199. In December of 2004, MTPD closed its American subsidiary’s operations in Horseheads,
New York, citing price and market erosion. Panasonic announced that the closing was part of the
company’s “global restructuring initiatives in the CRT business.” The company further stated that in the
future, “CRTs for the North American market will be supplied by other manufacturing locations in order
to establish an optimum CRT manufacturing structure.”

200. In July of 2005, LGPD ceased CRT production at its Durham, England facility, citing a
shift in demand from Europe to Asia.

201. In December of 2005, MTPD announced that it would close its American subsidiary’s
operations in Ohio, as well as operations in Germany, by early 2006. Like LG Philips, the company
explained that it was shifting its CRT operations to Asian and Chinese markets.

202. In late 2005, Samsung SDI followed the lead of other manufacturers, closing its CRT
factory in Germany.

203. In July of 2006, Orion shut down a CRT manufacturing plant in Princeton, Indiana. The
same month, Panasonic announced it was shutting down its CRT factory in Malaysia and liquidating its
joint venture with Toshiba.

(2) Examples of Collusive Pricing for CRTs

204. Defendants’ collusion is evidenced by unusual price movements in the CRT market. In
the 1990s, industry analysts repeatedly predicted declines in consumer prices for CRTs that did not fully
materialize. For example, in 1992, an analyst for Market Intelligent Research Corporation predicted that
“[e]conomies of scale, in conjunction with technological improvements and advances in manufacturing
techniques, will produce a drop in the price of the average electronic display to about $50 in 1997.”
Despite such predictions, and the existence of economic conditions warranting a drop in prices, CRT

prices nonetheless remained stable.

oO OD SF NN DBD NW BR WY YN

DBO DN NO NO NY PO RO DO Rm me i ea a ee eee
oo NN DB WH FP WD NO KFKF& OD OO DOH SI WB NH BP WD NO ee

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 20 of 42

205. In 1996, another industry source noted that “the price of the 14" tube is at a sustainable
USD50 and has been for some years... .”

206. In reality, prices for CRTs never approached $50 in 1997, and were consistently more
than double this price.

207. Despite the ever-increasing popularity of, and intensifying competition from, flat panel
monitors, prices for CRT monitors were “stuck stubbornly at high price levels” throughout 1995
according to a CNET News.com article. This price stabilization was purportedly due exclusively to a
shortage of critical components such as glass. This was a pretext used to conceal the conspiracy,

208. Prices for CRT monitors did fall sharply as a result of the Asian economic crisis of 1998,
which severely devalued Asian currencies. This prompted the keynote speaker at Asia Display 1998, an

annual conference for the display industry, to state:

We believe that now is the time to revise our strategic plan in order to survive in
his tough environment and also to prepare for the coming years. This means that
we have to deviate from the traditional approach of the simple scale up of
production volume.

209. In early 1999, despite declining production costs and the rapid entry of flat panel display
products, the price of large-sized color CRTs actually rose. The price increase was allegedly based on
increasing global demand for the products. In fact, this price rise was the result of collusive conduct
amongst Defendants.

210. After experiencing an oversupply of 17” CRTs in the second half of 1999, the average
selling price of CRTs rose again in early 2000. A March 13, 2000 article quoted an industry analyst as
saying that this price increase was “unlike most other PC-related products.”

211. On June 1, 2004, LG Electronics raised the prices of its 15” and 17” CRT monitors in
India. This price hike was falsely attributed exclusively to a shortage of glass needed to manufacture
CRTs.

212. Over the course of the Relevant Period, the price of CRTs remained stable, and in some
instances went up in an unexplained manner, despite the natural trend in most technology products to go

down over time. CRT technology was mature, and the costs of production were relatively low compared

oOo FF IN DW BP W HHO Ye

NO DO bho bho NO bo bo NO NO — — — m4 me. ee — _ ee —
ao ND UN FP Ye NY YF DOD ODO OH HYD DR A BR WH PH YF OS

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 21 of 42

to other emerging technologies. As Finsen Yu, President of Skyworth Macao Commercial Off Shore
Co., Ltd, a television maker, was quoted as saying in January of 2007, “[t]he CRT technology is very
mature; prices and technology have become stable.”

213. CRT prices resisted downward price pressures and remained stable over a period of many
years. Even in periods of decreasing prices caused by outside factors, such as the Asian currency crisis,
the prices of CRT Products did not decline as much as they would have absent the conspiracy. The
stability of the price of CRTs was accomplished by the collusive activities alleged above.

(3) Summary Of Effects Of The Conspiracy Involving CRTs

214, The above combination and conspiracy has had the following effects, among others:

a. Price competition in the sale of CRTs by Defendants and their co-conspirators has
been restrained, suppressed and eliminated throughout the United States;

b. Prices for CRTs in CRT Products sold by Defendants to Plaintiffs directly and
indirectly have been raised, fixed, maintained and stabilized at artificially high
and noncompetitive levels throughout the United States; and

c. Plaintiffs were deprived of the benefit of free and open competition in the
purchase of CRT Products.

d. As a direct and proximate result of the unlawful conduct of Defendants, Plaintiffs
were injured in its business and property in that they paid more for CRT Products
than it otherwise would have paid in the absence of the unlawful conduct of
Defendants.

VII. PLAINTIFFS’ INJURIES

215. As a purchaser of computer monitors, TVs and other devices that contained CRTs,
Plaintiffs suffered a direct, substantial and reasonably foreseeable injury as a result of Defendants’
conspiracy to raise, fix, stabilize or maintain the price of CRTs at supra-competitive levels. Defendants’
conspiracy artificially inflated the price of CRTs causing Plaintiffs to pay higher prices than they would
have in the absence of Defendants’ conspiracy.

216. Plaintiffs also purchased CRT Products containing CRTs from OEMs as well as others,
which in turn purchased CRTs from Defendants and their co-conspirators. Defendants’ conspiracy

affected and artificially inflated the price of CRTs purchased by these OEMs and others, which paid

0 Oo NY DWN WH BR WH PO Kw

DN NO NO NO NO BD DO ROD NO mw ee ey ee ee eeu eH ee
on ry n wu FS WH NY KF COD DO OHO NY DH WH BR WH PO SF OO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 22 of 42

higher prices for CRTs than they would have absent the conspiracy. The conspiracy artificially inflated
the prices of CRTs included in CRT Products.

217. The OEMs and others passed on to their customers, including Circuit City, the
overcharges caused by Defendants’ conspiracy. Thus, Plaintiffs suffered injury when it purchased
CRT Products containing such price-fixed CRTs from the OEMs and others.

218. Once a CRT leaves its place of manufacture, it remains essentially unchanged as it moves
through the distribution system. CRTs are identifiable, discrete physical objects that do not change form
or become an indistinguishable part of a CRT Product. Thus, CRTs follow a physical chain from
Defendants through manufacturers of CRT Products sold to Circuit City.

219. The market for CRTs and the market for CRT Products are inextricably linked and cannot
be considered separately. Defendants are well aware of this intimate relationship.

220. Throughout the Relevant Period, Defendants and their co-conspirators controlled the
market for CRTs. Consequently, during the Relevant Period, the OEMs had no choice but to purchase
CRTs from Defendants and others at prices that were artificially inflated, fixed and stabilized by
Defendants’ conspiracy.

221. As a result, Plaintiffs were injured in connection with its purchases of CRT Products
during the Relevant Period.

VII. FRAUDULENT CONCEALMENT

222. Plaintiffs had neither actual nor constructive knowledge of the facts supporting its claims
for relief despite diligence in trying to discover the pertinent facts. Plaintiffs did not discover, and could
not have discovered through the exercise of reasonable diligence, the existence of the conspiracy alleged
herein, Defendants engaged in a secret conspiracy that did not give rise to facts that would put Plaintiffs
on inquiry notice that there was a conspiracy to fix the prices of CRTs.

223. Because Defendants’ agreement, understanding and conspiracy were kept secret,
Plaintiffs were unaware of Defendants’ unlawful conduct alleged herein and did not know that it was

paying artificially high prices for CRT Products.

oO 0 Fm ND AH BR WD PN

MO NO SPO LP PNY KN NO NO RO Oy ee ee eu me
Qo ANA NH A FP WD NH —|§ DOD OO FH NN DB Wn BR W PO eS

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 23 of 42

224. The affirmative acts of Defendants alleged herein, including acts in furtherance of the
conspiracy, were wrongfully concealed and carried out in a manner that precluded detection. As noted
above, Defendants and their co-conspirators organized glass meetings to avoid detection, conducted
bilateral meetings in secret and agreed at glass meetings to orchestrate the giving of pretextual reasons
for their pricing actions and output restrictions. Defendants and their co-conspirators would coordinate
and exchange in advance the texts of the proposed communications with customers containing these
pretextual statements and would coordinate which co-conspirator would first communicate these
pretextual statements to customers.

225. By its very nature, Defendants’ price-fixing conspiracy was inherently self-concealing.

226. Plaintiffs could not have discovered the alleged contract, conspiracy or combination at an
earlier date by the exercise of reasonable diligence because of the deceptive practices and techniques of
secrecy employed by Defendants and their co-conspirators to avoid detection of, and fraudulently
conceal, their contract, conspiracy or combination. The contract, conspiracy or combination as herein
alleged was fraudulently concealed by Defendants by various means and methods, including, but not
limited to, secret meetings, surreptitious communications between Defendants by the use of the
telephone or in-person meetings in order to prevent the existence of written records, discussion on how
to evade antitrust laws and concealing the existence and nature of their competitor pricing discussions
from non-conspirators (including customers).

227. Defendants and their co-conspirators agreed not to publicly discuss the existence or
nature of the conspiracy or their agreements. Meetings related to CDTs and CPTs were held separately
to avoid detection. Participants at glass meetings were also told not to take minutes. Attending
companies also reduced the number of their respective attendees to maintain secrecy. During these
meetings, top executives and other officials attending these meetings were instructed on more than once
occasion not to disclose the fact of these meetings to outsiders, or even to other employees of
Defendants not involved in CRT pricing or production. In fact, the top executives who attended
conspiracy meetings agreed to stagger their arrivals and departures at such meetings to avoid being seen

in public with each other and with the express purpose and effect of keeping them secret.

Oo Oe NN WB WA BB WD YN ke

Pm DN PO NO KO DR NO RO RO wm ee eee
ao NIN DN UM SF WY NY YF DO ODO OHO KN DH HD BP WD LHP KF CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 24 of 42

228,

229,

Co OD ABA NN WD OH HR }H PO we

RO BDO DN DD NO NR RD RD RD ae ea ee ea
an ry Dn Hn Ff WB NY F|F§ DBD DO HB NIN DB WA FBP WH NPN Be

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 25 of 42

230. Defendants also agreed at glass meetings and bilateral meetings to give pretextual reasons
for price increases and output reductions to their customers.

231. As alleged above, in early 1999, despite declining production costs and the rapid entry of
flat panel display products, the price of large-sized color CRTs actually rose. The price increase was
allegedly based on increasing global demand for the products. In fact, this price rise was the result of

collusive conduct amongst Defendants, which was undisclosed at the time.

oOo Se NX DBD UN BP WHO PO we

Oo NO NO KN KH BD KR DD DRO Rwy ea ea ee eee
ao nN DN ON SF WY NR FP DOO OULU GU DNUUULUBRULUlULWwhhLLUYOLUCUCUMLH OO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 26 of 42

232. As alleged above, despite increased competition from flat panel monitors, prices for CRT
monitors were stuck stubbornly at high price levels throughout 2001. This price stabilization was
purportedly due exclusively to a shortage of critical components such as glass. This was a pretext used
to cover up the conspiracy.

233. In addition, when several CRT manufacturers, including Samsung, Philips and LG
Electronics, increased the price of CRTs in 2004, the price hike was blamed on a shortage of glass shells
use for manufacturing CRT monitors, In justifying this price increase, a Deputy General Manager for an
LG Electronics distributor in India stated, “[t]his shortage [of glass shells] is a global phenomena and
every company has to increase the prices of CRT monitors in due course of time.”

234, Manufacturers such as LG Electronics periodically issued press statements falsely
asserting that CRT prices were being driven lower by intense competition.

235. Plaintiffs are informed and believes, and thereon alleges, that the purported reasons for
the price increases of CRTs were materially false and misleading and made for the purpose of
concealing the conspirators anti-competitive scheme as alleged herein.

236. As a result of Defendants’ and their co-conspirators’ fraudulent concealment of their
conspiracy, the running of any statute of limitations has been tolled with respect to any claims that
Plaintiffs have as a result of the anticompetitive conduct alleged in this complaint.

IX. TOLLING

237. As discussed at length in Paragraphs 190 — 196 above, the United States Department of
Justice instituted criminal proceedings and investigations against several participants in the conspiracy
commencing on at least February 10, 2009. Plaintiffs’ claims were tolled during these criminal
proceedings pursuant to 15 U.S.C. § 16.

238. Plaintiffs’ claims were tolled under American Pipe & Construction Co. v. Utah, 414 U.S.
538 (1974), and related authorities recognizing cross-jurisdictional tolling during the pendency of the
Direct Purchaser Class actions asserted against the participants in the CRT price-fixing scheme and
commenced on at least November 26, 2007. Plaintiffs were a member of the Direct Purchaser Class

Actions, including, but not limited to, the following Complaints:

—

BO NN RN DR NYO RO RD RD DD a ea a ea ea a
oOo NN DBD HA FP WY NY KFKY§ DT CO FHF NI DB WH BR WH wo KY O-O

Oo Oo YN DO HAH FB W BH

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 27 of 42

° Crago, Inc. v, Chunghwa Picture Tubes, Ltd. et al., No. 3:07-cv-05944-SC (Dkt.
No. 1) (N.D. Cal. Nov. 26, 2007);

° Radio & TV Equipment, Inc. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-
00542-JAG, (D. N.J. Jan. 28, 2008);

e Sound Investments Corp. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-00543-
JAG (D.N.J. Jan. 28, 2008);

e Direct Purchaser Plaintiffs’ Consolidated Amended Complaint, No. 3:07-cv-
05944-SC (Dkt. No. 436) (N.D. Cal. Mar. 16, 2009).
X. CLAIM FOR VIOLATIONS

First Claim for Relief
(Violation of Section 1 of the Sherman Act)

239. Plaintiffs incorporate by reference all the above allegations as if fully set forth herein.

240. Beginning no later than March 1, 1995, the exact date being unknown to Plaintiffs and
exclusively within the knowledge of Defendants, Defendants and their co-conspirators entered into a
continuing contract, combination or conspiracy to unreasonably restrain trade and commerce in violation
of Section 1 of the Sherman Act (15 U.S.C. § 1) by artificially reducing or eliminating competition in
the United States.

241. In particular, Defendants combined and conspired to raise, fix, maintain or stabilize the
prices of CRTs sold in the United States.

242. As a result of Defendants’ unlawful conduct, prices for CRTs were raised, fixed,
maintained and stabilized in the United States.

243. The contract, combination or conspiracy among Defendants consisted of a continuing
agreement, understanding, and concerted action among Defendants and their co-conspirators.

244, For purposes of formulating and effectuating their contract, combination or conspiracy,
Defendants and their co-conspirators did those things they contracted, combined, or conspired to do,

including:

o AN DW A PR W YN

Bo NO NO NY KN DY RD NR RO a ea ee
Oo nN Dn UW FF WY NH -& OD ODO A NN DBD WA BP WD NO -& OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 28 of 42

a. participating in meetings and conversations to discuss the prices and supply of
CRTs;

b. communicating in writing and orally to fix target prices, floor prices and price
ranges for CRTs;

Cc, agreeing to manipulate prices and supply of CRTs sold in the United States in a

manner that deprived direct purchasers of free and open competition;
d. issuing price announcements and price quotations in accordance with the

agreements reached;

e, selling CRTs to customers in the United States at noncompetitive prices;

f. exchanging competitively sensitive information in order to facilitate their
conspiracy;

g. agreeing to maintain or lower production capacity; and

h. providing false statements to the public to explain increased prices for CRTs.

245, Asa result of Defendants’ unlawful conduct, Plaintiffs were injured in their businesses
and property in that they paid more for CRTs than they otherwise would have paid in the absence of
Defendants’ unlawful conduct.

Second Claim for Relief
(Violation of the California Cartwright Act)

246. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
allegation set forth in the preceding paragraphs of this Complaint.

247. During the Relevant Period, Plaintiffs, and their predecessor entities, conducted a
substantial volume of business in California. In particular, Plaintiffs purchased CRTs from Defendants
and their co-conspirators in California; maintained warehouses in California containing CRTs
manufactured and sold by Defendants and co-conspirators; and maintained agents and representatives in
California who sold CRTs to customers in California and elsewhere. As a result of their presence in
California and the substantial business they conducted in California, Plaintiffs are entitled to the

protection of the laws of California.

Oo fF NN DO vA BR W PB Ke

NO NO NO KN KN DO NY RO RO mem ee ee eee eee
oo AN HD A FP WY NY FY OD Oo WB NDB WA BP W PO KF OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 29 of 42

248. In addition, Defendants LG Display, Samsung and Toshiba all maintained offices in
California during the Relevant Period. Employees at Defendants’ locations in California participated in
meetings and engaged in bilateral communications in California and intended and did carry out
Defendants’ anticompetitive agreement to fix the price of CRTs: Defendants’ conduct within California
thus injured Plaintiffs and their predecessor entities, both in California and throughout the United States.

249. Beginning at a time presently unknown to Plaintiffs, but at least as early as March 1,
1995, and continuing thereafter at least up to and including at least November 25, 2007, Defendants and
their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the trade and
commerce described above in violation of the Cartwright Act, California Business and Professional
Code Section 16720. Defendants have each acted in violation of Section 16720 to fix, raise, stabilize
and maintain prices of, and allocate markets for, CRTs at supra-competitive levels. Defendants’ conduct
substantially affected California commerce.

250. The aforesaid violations of Section 16720, California Business and Professional Code,
consisted, without limitation, of a continuing unlawful trust and concert of action among Defendants and
their co-conspirators, the substantial terms of which were to fix, raise, maintain and stabilize the prices
of, and to allocate markets for, CRTs.

251. For the purpose of forming and effectuating the unlawful trust, Defendants and their co-
conspirators have done those things which they combined and conspired to do, including but in no way

limited to the acts, practices and course of conduct set forth above and the following:

a. to fix, raise, maintain and stabilize the price of CRTs;

b. to allocate markets for CRTs amongst themselves;

c. to submit rigged bids for the award and performance of certain CRTs contracts;
and

d, to allocate among themselves the production of CRTs.

252. The combination and conspiracy alleged herein has had, inter alia, the following effects:
a. price competition in the sale of CRTs has been restrained, suppressed and/or

eliminated in the State of California;

Oo 72 NI DB UN BW PO Ke

DO NO NO KL KN RNY NO DR RO ea ea ea ee
oo NTN UN KR BW BP FP DO OD OU NSN ODN BP OYUN DLULUmrHLULULUCODD

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 30 of 42

b. prices for CRTs sold by Defendants, their co-conspirators, and others have been
fixed, raised, maintained and stabilized at artificially high, non-competitive levels
in the State of California; and

C, those who purchased CRTs from Defendants, their co-conspirators, and others
and CRTs containing price-fixed CRTs from Defendants, their co-conspirators,
and others have been deprived of the benefit of free and open competition.

253. As a result of the alleged conduct of Defendants, Plaintiffs paid supra-competitive,
artificially inflated prices for the CRTs they purchased during the Relevant Period.

254. Asa direct and proximate result of Defendants’ conduct, Plaintiffs have been injured in
their business and property by paying more for CRTs containing price-fixed CRTs sold by Defendants,
their co-conspirators and others than they would have paid in the absence of Defendants’ combination
and conspiracy. As a result of Defendants’ violation of Section 16720 of the California Business and
Professional Code, Plaintiffs are entitled to treble damages and the costs of suit, including reasonable
attorneys’ fees, pursuant to Section 16750(a) of the California Business and Professions Code.

Third Claim for Relief
(Violation of State Antitrust and Unfair Competition Laws)

255. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
allegation set forth in the preceding paragraphs of this Complaint.

256. Beginning at a time presently unknown to Plaintiffs, but at least as early as March 1,
1995, and continuing thereafter at least up to and including at least November 25, 2007, Defendants and
their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the trade and
commerce described above in violation of the state antitrust and unfair competition laws referenced
below. Defendants and their co-conspirators have each acted in violation of these state laws in their
efforts to fix, raise, stabilize and maintain prices of, and allocate markets for, CRTs at supra-competitive

levels. Defendants’ and their co-conspirators’ conduct substantially affected commerce in these states.

Oo OF YN DW NW BR W PPO we

RO DO PO BO DO WR RO DR RO ee ea ea ea ee
on 4 Dn OF FSF WY NY YK DOD OD FHF NI DBD A FBP Ww NH KS CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 31 of 42

257. The aforesaid violations consisted, without limitation, of a continuing unlawful trust and
concert of action among Defendants and their co-conspirators, the substantial terms of which were to
fix, raise, maintain and stabilize the prices of, and to allocate markets for, CRTs.

258. For the purpose of forming and effectuating the unlawful trust, Defendants and their co-
conspirators have done those things which they combined and conspired to do, including but in no way

limited to the acts, practices and course of conduct set forth above and the following:

a. to fix, raise, maintain and stabilize the price of CRTs;

b. to allocate markets for CRTs amongst themselves;

c, to submit rigged bids for the award and performance of certain CRTs contracts;
and

d. to allocate among themselves the production of CRTs.

259, The combination and conspiracy alleged herein has had, inter alia, the following effects:

a. price competition in the sale of CRTs has been restrained, suppressed, and/or
eliminated in the states listed below;

b. prices for CRTs sold by Defendants, their co-conspirators, and others have been
fixed, raised, maintained and stabilized at artificially high, non-competitive levels
in the states listed below; and

c, those who purchased CRTs from Defendants, their co-conspirators, and others
have been deprived of the benefits of free and open competition.

260. As aresult of the alleged conduct of Defendants and their co-conspirators, Plaintiffs paid
supra-competitive, artificially inflated prices for the CRTs they purchased during the Relevant Period.

261. By reason of the foregoing, Defendants and their co-conspirators also have engaged in
unfair competition in violation of California’s Unfair Competition Law, California Business and
Professional Code § 17200, et seq.

a, Defendants and their co-conspirators committed acts of unfair competition, as
defined by Section 17200 et seq., by engaging in a conspiracy to fix and stabilize

the price of CRTs as described above;

oo S&F NN DN WO BR WW PPO

RO bw BD NV BDO KR NR DR RD a ea ea ee
Oo NN HD A SP WY NYO | DBD CO TF I DB A BP WO PO KF OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 32 of 42

262.

Defendants’ and their co-conspirators’ acts, omissions, misrepresentations,
practices and non-disclosures, as described above, constitute a common,
continuous and continuing course of conduct of unfair competition by means of
unfair, unlawful and/or fraudulent business acts or practices with the meaning of
Section 17200, et seq., including, but not limited to (1) violation of Section 1 of
the Sherman Act; and (2) violation of the Cartwright Act;

Defendants’ and their co-conspirators’ acts, omissions, misrepresentations,
practices and non-disclosures are unfair, unconscionable, unlawful and/or
fraudulent independently of whether they constitute a violation of the Sherman
Act or the Cartwright Act;

Defendants’ and their co-conspirators’ acts or practices are fraudulent or
deceptive within the meaning of Section 17200, et seq.;

Defendants’ and their co-conspirators’ conduct was carried out, effectuated, and .
perfected within the state of California. Defendants LG Display, Chunghwa,
Sharp, Chi Mei, HannStar, and Epson all admitted that acts in furtherance of the
conspiracy to fix the price of CRTs were carried out in California;

During the Relevant Period, Plaintiffs purchased CRTs in California. As a result,
each is entitled to the protection of the laws of California; and

By reason of the foregoing, each of those Plaintiffs are entitled to full restitution
and/or disgorgement of all revenues, earnings, profits, compensation, and benefits
that may have been obtained by Defendants or their co-conspirators as result of

such business acts and practices.

By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Arizona Revised Stat. §§ 44-1401, et seq:

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or

eliminated competition in the sale of CRTs in Arizona and fixed, raised,

Oo OSG ND A BP BW PO

DO NO NO HR KV PO KO NO HNO mR yee ee el ee
ao JN DN UH FF WY NY |§ DTD OD HF NQ DB WH BW PPO KF OO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 33 of 42

maintained and stabilized CRT prices in Arizona at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Arizona commerce;

During the Relevant Period, Sears purchased CRTs in Arizona. As a result, Sears
is entitled to the protection of the laws of Arizona; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, Sears has been injured in its business and property by paying more for
CRTs manufactured by Defendants, their co-conspirators, and others than it
would have paid in the absence of Defendants and their co-conspirators’
combination and conspiracy, and is therefore entitled to relief under Ariz. Rev.

Stat. §§ 44-1401, et seg.

263. By reason of the foregoing, Defendants and their co-conspirators also have engaged in

unfair competition in violation of Florida Stat. §§ 501.201, et seq.

a.

Defendants and their co-conspirators committed acts of unfair competition by
engaging in a conspiracy to fix and stabilize the price of CRTs as described
above;

Defendants’ and their co-conspirators’ acts, omissions, misrepresentations,
practices and non-disclosures, as described above, constitute a common,
continuous and continuing course of conduct of unfair competition by means of
unfair, unlawful and/or fraudulent business acts or practices, including, but not
limited to violation of Section 1 of the Sherman Act;

Defendants’ and their co-conspirators’ acts, omissions, misrepresentations,
practices and non-disclosures are unfair, unconscionable, unlawful and/or
fraudulent independently of whether they constitute a violation of the Sherman

Act;

So OO CO WS DWH WH BR WwW PPO ve

NO NO NO NO KN RN DR RD RO em ee ee ea
Oo NHN HN FSF WY NY KF CO O fH NH WO WH BR WD PO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 34 of 42

d. Defendants’ and their co-conspirators’ acts or practices are fraudulent or
deceptive;
e, Defendants’ and their co-conspirators’ conduct was carried out, effectuated, and

perfected within Florida; and
f. During the Relevant Period, Plaintiffs purchased CRTs in Florida. As a result,
each is entitled to the protection of the laws of Florida.
264. By reason of the foregoing, Defendants and their co-conspirators also have entered into
an agreement in restraint of trade in violation of the Illinois Antitrust Act, 740 Illinois Code 10/1, et seq.
a. Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Illinois and fixed, raised,
maintained and stabilized CRT prices in Illinois at artificially high, non-
competitive levels;
b. As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Illinois commerce;
c. During the Relevant Period, Plaintiffs purchased CRTs in Illinois. As a result,
each is entitled to the protection of the laws of Illinois; and
As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under
the Illinois Antitrust Act, 740 Illinois Code 10/1, ef seq.
265. By reason of the foregoing, Defendants and their co-conspirators also have engaged in
unfair competition in violation of Massachusetts G.L. c. 93A, §§ 2, et seq.
a. Defendants and their co-conspirators committed acts of unfair competition by
engaging in a conspiracy to fix and stabilize the price of CRTs as described

above;

Oo OF ND nH BP WY PO we

DO NO NO YO HNO NY VP RO NO ewe eae ea
oa AN Dn A FBP WD NH KF CD ODO DB NY DB UvN BP WD NH KF CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 35 of 42

Defendants’ and their co-conspirators’ acts, omissions, misrepresentations,
practices and non-disclosures, as described above, constitute a common,
continuous and continuing course of conduct of unfair competition by means of
unfair, unlawful and/or fraudulent business acts or practices, including, but not
limited to violation of Section 1 of the Sherman Act;

Defendants’ and their co-conspirators’ acts, omissions, misrepresentations,
practices and non-disclosures are unfair, unconscionable, unlawful and/or
fraudulent independently of whether they constitute a violation of the Sherman
Act;

Defendants’ and their co-conspirators’ acts or practices are fraudulent or
deceptive;

Defendants’ and their co-conspirators’ conduct was carried out, effectuated, and
perfected within Massachusetts; and

During the Relevant Period, Sears purchased CRTs in Massachusetts. As a result,

Sears is entitled to the protection of the laws of Massachusetts,

266. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Michigan Comp. Laws. Ann. §§ 445.771, et seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Michigan and fixed, raised,
maintained and stabilized CRT prices in Michigan at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Michigan commerce;

During the Relevant Period, Plaintiffs purchased CRTs in Michigan. As a result,
each is entitled to the protection of the laws of Michigan; and

As a direct and proximate result of Defendants’ and their co-conspirators’

conduct, each of those Plaintiffs has been injured in its business and property by

CoO UD O82 ND AH BP WY PO Ke

DO DP BD KD RYO DO DOD RO RO ee ee ae ea
non AI HD DA Fe WD NY KF OF ODO HB IN DA UAW BPR WD YN KB

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 36 of 42

paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

Michigan Comp. Laws. Ann. §§ 445.771, et seq.

267. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Minnesota Stat. §§ 325D.50, et seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Minnesota and fixed, raised,
maintained and stabilized CRT prices in Minnesota at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Minnesota commerce;

During the Relevant Period, Plaintiffs purchased CRTs in Minnesota. As a result,
each is entitled to the protection of the laws of Minnesota; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their coconspirators and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

Minnesota Stat. §§ 325D.50, et seq.

268. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Mississippi Code Ann. §§ 75-21-1, ef seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Mississippi and fixed, raised,
maintained and stabilized CRT prices in Mississippi at artificially high, non-

competitive levels;

Oo A NI WDB WN FP WD PO

DO NO NO NY KD DO NNO DRO DR we ea eee ea ee
oo ND ONO FP Ww NY YFY& DS BO Be IND DBO A BP W PO KFS OO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 37 of 42

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Mississippi commerce;

During the Relevant Period, Sears purchased CRTs in Mississippi. As a result,
Sears is entitled to the protection of the laws of Mississippi; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

Mississippi Code Ann. §§ 75-21-1, et seq.

269. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Nebraska Rev. Stat. §§ 59-801, et seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Nebraska and fixed, raised,
maintained and stabilized CRT prices in Nebraska at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Nebraska commerce;

During the Relevant Period, Plaintiffs purchased CRTs in Nebraska. As a result,
each is entitled to the protection of the laws of Nebraska; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

Nebraska Stat. §§ 59-801, et seq.

oOo DH N DN WN BP WD PO

DO NNO VN DVD NO KH KR DR DR ee ea eee
oo NSN DN AH FSF WY NY KF§ DB ODO fH sa? DB WH BR WO PPO KF OC

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 38 of 42

270. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A, ef seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Nevada and fixed, raised,
maintained and _ stabilized CRT prices in Nevada at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Nevada commerce;

During the Relevant Period, Plaintiffs purchased CRTs in Nevada. As a result,
each is entitled to the protection of the laws of Nevada; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

Nevada Rev. Stat. Ann. §§ 598A, ef seq.

271. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-1, et seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in New Mexico and fixed, raised,
maintained and stabilized CRT prices in New Mexico at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected New Mexico commerce;

During the Relevant Period, Sears purchased CRTs in New Mexico. Asa result,

Sears is entitled to the protection of the laws of New Mexico; and

Oo 7S SN DH NH BP WW NH ew

NO NO NO NO NY VN NY NRO] es ea ea ea
oOo SN DN HWA FF Ww VY YFP DD ODO DO ND DWH BR W PO = Oo

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 39 of 42

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

New Mexico Stat. Ann. §§ 57-1-1, et seq.

272. By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of New York General Business Law §§ 340, ef seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in New York and fixed, raised,
maintained and stabilized CRT prices in New York at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected New York commerce;

During the Relevant Period, Sears purchased CRTs in New York. As a result,
Sears is entitled to the protection of the laws of New York; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in their business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

New York General Business Law §§ 340, et seq.

273, By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or

eliminated competition in the sale of CRTs in North Carolina and fixed, raised,

Go OO O NS DWH HW BR WH PO we

Bo NN KN NY NY NR DO NR RO ea ee a ea a
oO nN Dn mH FP WY NY KF& CO OO fe nN DB WH BR W YP =

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 40 of A2

maintained and stabilized CRT prices in North Carolina at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected North Carolina commerce;

During the Relevant Period, Plaintiffs purchased CRTs in North Carolina. As a
result, each is entitled to the protection of the laws of North Carolina; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and
others than it would have paid in the absence of Defendants and their co-
conspirators’ combination and conspiracy, and is therefore entitled to relief under

North Carolina Gen. Stat. §§ 75-1, et seq.

274, By reason of the foregoing, Defendants and their co-conspirators also have entered into

an agreement in restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq.

a.

Defendants and their co-conspirators’ conspiracy restrained, suppressed and/or
eliminated competition in the sale of CRTs in Wisconsin and fixed, raised,
maintained and stabilized CRT prices in Wisconsin at artificially high, non-
competitive levels;

As a result, Defendants and their co-conspirators’ conspiracy substantially
affected Wisconsin commerce;

During the Relevant Period, Sears purchased CRTs in Wisconsin. As a result,
Sears is entitled to the protection of the laws of Wisconsin; and

As a direct and proximate result of Defendants’ and their co-conspirators’
conduct, each of those Plaintiffs has been injured in its business and property by
paying more for CRTs manufactured by Defendants, their co-conspirators, and

others than it would have paid in the absence of Defendants and their co-

oO ON DO WA BR W PO

NO NO KH VY DR DN RD DR RO eee
aoa NY Dn Ww fF WD NY KF OD OO CO NQ DA A BP WO NBO KY CO

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 41 of 42

conspirators’ combination and conspiracy, and is therefore entitled to relief under
Wisconsin Stat. §§ 133.01, et seq.
XI. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that the Court enter judgment on its behalf, adjudging and
decreeing that:

A. Defendants engaged in a contract, combination, and conspiracy in violation of Section 1
of the Sherman Act (15 U.S.C. § 1), the California Cartwright Act, and the unfair competition laws of
California, Arizona, Florida, Illinois, Massachusetts, Michigan, Minnesota, Mississippi, Nebraska,
Nevada, New Mexico, New York, North Carolina, and Wisconsin, and Plaintiffs were injured in their
business and property as a result of Defendants’ violations;

B. Plaintiffs shall recover damages sustained by them, as provided by the federal and state
antitrust laws, and a joint and several judgment in favor of Plaintiffs shall be entered against Defendants
in an amount to be trebled in accordance with such laws, including Section 4 of the Clayton Act;

C, Defendants, their subsidiaries, affiliates, successors, transferees, assignees and the
respective officers, directors, partners, agents and employees thereof, and all other persons acting or
claiming to act on their behalf, shall be permanently enjoined and restrained from continuing and
maintaining the combination, conspiracy or agreement alleged herein;

D. Plaintiffs shall be awarded pre-judgment and post-judgment interest, and such interest
shall be awarded at the highest legal rate from and after the date of service of the initial complaint in this
action;

E. Plaintiffs shall recover their costs of this suit, including reasonable attorneys’ fees as
provided by law; and

F, Plaintiffs shall receive such other or further relief as may be just and proper.

XI. JURY TRIAL DEMAND

Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all the

claims asserted in this Complaint so triable.

Case 4:07-cv-05944-JST Document 2315-4 Filed 01/10/14 Page 42 of 42

Dated: November 11, 2013

Respect» ubmitted,

Richard Alay Arnold, Esq. (admitted pro hac vice)

William J. Blechman, Esq. (admitted pro hac vice)

Kevin J. Murray, Esq. (admitted pro hac vice)

Samuel J. Randall, Esq. (admitted pro hae vice)

KENNY NACHWALTER, P.A.

201 S. Biscayne Boulevard, Suite 1100

Miami, Florida 33131

Tel: (305) 373-1000

Fax: (305) 372-1861

E-mail: rarnold@knpa.com
wblechman@knpa.com
kmurray@knpa.com
srandall@knpa.com

Counsel for Plaintiffs Sears Roebuck and Co. and
Kmart Corp.

